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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA


                                                       18-Cr-289 (SHS)
               v.
BRYAN DUNCAN,                                           OPINION & ORDER
                              Defendant.


SIDNEY H. STEIN, U.S. District Judge.
    Following a nine-day trial in May 2019, a jury convicted defendant Bryan Duncan on
Counts One, Four, Five, and Six of the Superseding Indictment. At trial, the government
presented evidence that Duncan participated in two conspiracies, Fraud Scheme-1 and Fraud
Scheme-2, which sought to defraud businesses and insurance companies by recruiting
individuals to stage slip-and-fall accidents, directing them to seek unnecessary medical
procedures-most often surgeries-and bringing them to attorneys who then initiated
lawsuits against the business owners and insurance companies.
     On January 7, 2020, the Court initiated sentencing proceedings. Duncan's counsel at that
time objected to the proposed forfeiture order, arguing that the government cited no evidence
supporting its calculation. Gan. 7, 2020 Tr. at 28:5-11, ECF No. 252.) The Court adjourned
the proceeding to resolve this issue and to allow the government additional time to calculate
restitution.
     Following a series of adjournments due to the COVID-19 pandemic and the substitution
of defense counsel, the Court held in-court proceedings on July 27, 2020, to formally impose
sentence and resolve the lingering forfeiture and restitution issues. For the reasons set forth
at that proceeding and detailed below, the Court orders forfeiture in the amount of $644,056.
The Court will not enter the government's proposed restitution order because the
government has failed to meet its burden.
I.   FORFEITURE


     A. The Government Has Met Its Burden
     "It is well-settled in the Second Circuit that once the defendant is convicted of an
offense on proof beyond a reasonable doubt, the government is only required to establish
the forfeitability of the property subject to criminal forfeiture as a result of that offense by
a preponderance of the evidence." United States v. Schlesinger, 396 F. Supp. 2d 267, 271
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(E.D.N.Y. 2005) (citing United States v. Fruchter, 411 F.3d 377,383 (2d Cir. 2005)), aff'd, 514
F.3d 277 (2d Cir. 2008)).
    The government has submitted a revised proposed forfeiture order pursuant to 18
U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c), seeking the entry of a money judgment for
the proceeds traceable to the commission of Counts Four, Five, and Six (i.e., Fraud
Scheme-2). Under 18 U.S.C. § 981(a)(l)(C), "[a]ny property, real or personal, which
constitutes or is derived from proceeds traceable" to mail or wire fraud, or a conspiracy
to commit such an offense, "is subject to forfeiture to the United States." "[T]he term
'proceeds' means property of any kind obtained directly or indirectly, as the result of the
commission of the offense giving rise to forfeiture, and any property traceable thereto,
and is not limited to the net gain or profit realized from the offense." Id.§ 981(a)(2)(A).
     The trial record demonstrates that at some point in 2015, Duncan and Gordon
stopped working with Peter Kalkanis on Fraud Scheme-1, and began operating a separate
and substantially similar fraud scheme (i.e., Fraud Scheme-2). To finance the second
scheme, Duncan and Gordon formed their own company, D&G Premier Solutions LLC,
from which they received case management fees. (PSR 'II 26.) Duncan and Gordon were
joint 50-50 owners and served as the company's only employees. (Trial Tr. at 908, 949.)
From January 2015 through December 2018, D&G made a gross profit of $1,610,140.75.
(Trial Tr. at 917; GX 807; PSR 'II 26.) Initially, the government sought forfeiture for this
full amount. (See ECF No. 246, Ex. A.)
    At the July 27 proceeding, however, the government conceded that in light of new
evidence obtained from a cooperating witness, the proposed forfeiture should be reduced
by 60 percent-to $644,056. (July 27, 2020 Tr. at 9-12.) 1 To support this significant
downward adjustment, the government cited the cooperator's estimate that only 40
percent of the deposits shown on D&G' s ledger came from trip-and-fall cases; the
remaining cases were not trip-and-fall accidents. (Id. at 11-12; see also Def. July 17 Letter,
at 9-10 ("[T]here are cases in the record that show D&G serviced clients with other,
legitimate motor vehicle accident or general negligence claims.").)
     The Court finds support in the record for this revised estimate by a preponderance
of the evidence and will sign the government's proposed forfeiture order in the amount
of $644,056. "The calculation of forfeiture amounts is not an exact science." United States
v. Treacy, 639 F.3d 32, 48 (2d Cir. 2011). '"The court need not establish the loss with
precision but rather need only make a reasonable estimate of the loss, given the available
information."' Id. (quoting United States v. Uddin, 551 F.3d 176, 180 (2d Cir. 2009)).


1The government maintains its position that this figure considerably understates the proceeds that
Duncan and Gordon derived from Fraud Scheme-2. (See July 27, 2020 Tr. at 13; see also Gov' t Feb. 28
Letter, at 7 n.3.)


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    The evidence at trial included the testimony of Jasmond Cunningham, who stated
that in 2015, while he was living a homeless shelter, his roommate told him about the
possibility of making money through a fraudulent personal injury lawsuit. (Trial Tr. at
630-43.) Cunningham told the jury that he met with Duncan and other individuals
interested in starting their own slip-and-fall scam; that Duncan instructed him on how to
stage an accident and on the specific injuries to claim when he went to the hospital after
the phony accident; that Duncan drove him to medical and legal appointments; that he
underwent surgeries after Duncan told him that the lawsuit would be more profitable if
he did so; and that Duncan gave him money orders from Fast Trak, the relevant litigation-
funding company. (Id. at 633-44.)
     In addition to Cunningham's testimony, the evidence showed that Fraud Scheme-2
employed many of the same lawyers, doctors, and runners as Fraud Scheme-1. (See Trial
Tr. at 814, 1490-91.) Duncan also relied on the same primary funding company, Fast
Trak. (Id. at 814-15.) This evidence, in conjunction with the other evidence presented at
trial, demonstrates that Duncan and Gordon's operation was indeed a "fraud mill" (July
27, 2020 Tr. at 14), and allows the Court to conclude by a preponderance of the evidence
that $644,056 appropriately represents, if not understates, the proceeds traceable to the
pair's criminal conduct. Duncan and Gordon are jointly and severally liable for this full
amount. See United States v. Coleman Com. Carrier Inc., 232 F. Supp. 2d 201, 204
(S.D.N.Y.2002) ("[C]oconspirators are liable jointly and severally to forfeit the reasonably
foreseeable proceeds of their criminal activity. To hold otherwise would encourage
strategic behavior on the part of coconspirators to hide funds and thwart the purpose of
the criminal forfeiture statute.").

    B.   Duncan's Eighth Amendment Challenge
     Duncan also contends that the government's proposed order would violate the Eighth
Amendment's prohibition against excessive fines . In analyzing this claim, the Court must
apply the two-step inquiry established in United States v. Bajakajian, 524 U.S. 321 (1998), for
determining whether a financial penalty is excessive under the Eighth Amendment. "At the
first stage, we determine whether the Excessive Fines Clause applies at all." United States v.
Viloski, 814 F.3d 104, 109 (2d Cir. 2016). "If we conclude that it does, we proceed to the second
step and determine whether the challenged forfeiture is unconstitutionally excessive." Id.
"The burden rests on the defendant to show the unconstitutionality of the forfeiture." Id.
     Here, the Excessive Fines Clause applies because the proposed preliminary forfeiture
order is punitive in nature: it will be "imposed at the culmination of a criminal proceeding
that required a conviction of the underlying felony," and "could not have been imposed upon
an innocent party." Id. at 109 (citations omitted).




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    To determine whether the forfeiture is unconstitutionally excessive, the Court must
assess whether "it is grossly disproportional to the gravity of [Duncan's] offense" using the
four Bajakajian factors :
       (1) the essence of the crime of the defendant and its relation to other criminal
       activity, (2) whether the defendant fits into the class of persons for whom the
       statute was principally designed, (3) the maximum sentence and fine that
       could have been imposed, and (4) the nature of the harm caused by the
       defendant's conduct.
Id. at 110 (citing United States v. George, 779 F.3d 113, 122 (2d Cir. 2015). In conjunction with
the above factors, the Court may also consider "whether the forfeiture would deprive the
defendant of his livelihood, i.e. his 'future ability to earn a living."' Id. at 111 (quoting
United States v. Levesque, 546 F.3d 78, 84 (1st Cir. 2008)).
     Here, each of the four factors weigh firmly against a finding that the proposed order
is grossly disproportional in relation to the gravity of Duncan's offense. Duncan engaged
in two multiyear conspiracies that involved repeated instances of mail and wire fraud to
exploit vulnerable individuals and defraud insurance companies. See id. at 113 (finding
that the first factor weighed in favor of a proportionality finding where the defendant
"engaged in a multi-year conspiracy involving repeated instances of money laundering,
mail fraud, wire fraud, and related offenses").
    Duncan falls comfortably within the class of persons for whom the federal mail and
wire fraud statutes were designed-namely, those who use facilities of interstate
commerce to engage in fraudulent schemes. See United States v. Finazzo, No. 10-CR-457
RRM RML, 2014 WL 3818628, at *33 (E.D.N.Y. Aug. 1, 2014) ("[T]he mail and wire fraud
statutes are designed to prevent the use of interstate communications facilities-the mails
and wires-to affect a broad range of fraudulent schemes to obtain money or property
through false pretenses, representations, or promises."), vacated and remanded on other
grounds, 850 F.3d 94 (2d Cir. 2017); see also Viloski, 814 F.3d at 114.
    Duncan's Guidelines range is 324 to 405 months' incarceration, and the maximum
Guidelines fine is $240,000,000. (PSR at 28.) Accordingly, the maximum fine is more than
370 times the proposed $644,056 forfeiture order, "which suggests that Congress did not
view offenses like [Duncan's] as trivial, and thus also weighs strongly in favor of the
forfeiture's constitutionality." Viloski, 814 F.3d at 114; see also United States v. George, 779
F.3d 113, 123-24 (2d Cir. 2015) (finding that the third Bajakajian factor "points to no
disproportionality," much less gross disproportionality, even where the challenged
forfeiture exceeded the Guidelines fine, because the forfeiture was "well below" the
statutory maximum); United States v. 817 N.E. 29th Drive, 175 F.3d 1304, 1310 (11th Cir.
1999) ("[I]f the value of the property forfeited is within or near the permissible range of
fines under the sentencing guidelines, the forfeiture almost certainly is not excessive.").


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    Finally, the nature of the harm caused by Duncan's conduct was extensive. Together,
Duncan and Gordon recruited at least 300 patients into the fraudulent schemes. (PSR
1132.) Duncan is accountable for intended losses ranging between $25,000,000 and
$65,000,000. (Id.) The government explains that this loss range is a "conservative
estimate" assuming that that "the attempted loss per recruited patients was only
$100,000," which is on the lower end of the settlements paid out. (Id .)
     Nonetheless, Duncan notes that during the July 10, 2020 teleconference, the Court
acknowledged that it was extremely unlikely that Duncan would be able to pay the
judgment over the course of his lifetime. (Def. July 17 Letter at 11 (citing July 10, 2020 Tr.
at 15).) Duncan thus urges that the proposed forfeiture amount would deprive him of
his livelihood. However, "a forfeiture that deprives a defendant of his livelihood might
nonetheless be constitutional, depending on his culpability or other circumstances."
Viloski, 814 F.3d at 112. As discussed above, the gravity of the conduct and the extensive
harm that Duncan caused support the government's proposed figure. Accordingly, the
proposed forfeiture amount is not grossly disproportional to the gravity of Duncan's
conduct, and Duncan's Eighth Amendment challenge must be rejected.

II.   RESTITUTION

     The government seeks restitution from Duncan in the amount of $727,600 pursuant to
the Mandatory Victim Restitution Act, 18 U.S.C. § 3663A. (See March 7 Letter, at 1.) The
government bears the burden of demonstrating the amount of any loss sustained by a victim,
see 18 U.S.C. § 3664(e); United States v. Reifler, 446 F.3d 65, 122 (2d Cir. 2006), and all disputes
as to the proper amount or type of restitution are resolved by a preponderance of the
evidence, United States v. Bahel, 662 F.3d 610,647 (2d Cir. 2011) (citation omitted).
     "[I]n or around 2015," Duncan withdrew from Fraud Scheme-1 and "started his own
substantially similar Fraud Scheme." (March 7 Letter, at 8.) Thus, in calculating restitution
for Duncan, the government included "only those Patients who were a part of the Fraud
Scheme[-1] before Bryan Duncan withdrew, or for whom there is evidence showing that
Duncan remained involved with their cases." (Id .) Initially, the government identified six
patients who fit these criteria, whose cases allegedly supported $727,600 in restitution.
During the July 27 proceeding, however, the government removed three of the six patients
from this calculation, lowering the proposed restitution total to $275,600. (See July 27, 2020
Tr. at 15-16.)
     Still, the Court finds that the government has not established that this reduced figure is
an appropriate amount for restitution by a preponderance of the evidence because the
government has not shown that the three patients for whom the government seeks restitution
are individuals "who were a part of [Fraud Scheme-1] before Bryan Duncan withdrew, or for
whom there is evidence showing that Duncan remained involved with their cases." (March
7 Letter, at 8.)


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     Those three patients had litigations filed by Marc Elefant, an attorney who began
working with Kalkanis at a time when Duncan had already withdrawn from Fraud Scheme-1.
(See Trial Tr. at 1099, 1102.) The government attempts to show that Duncan nonetheless
remained involved in these patients' cases by including emails between Duncan and a
conspiring doctor. The emails attach the doctor's daily schedule with the names of eleven to
fifteen patients. But the government fails to produce any evidence suggesting that Duncan
was specifically seeking information regarding any one of the three patients. Thus, the
government has not shown that Duncan remained involved in these cases after he withdrew
from Fraud Scheme-1, and the Court declines to sign the government's proposed order.

Ill.   CONCLUSION

     Because the government has established by a preponderance of the evidence that
$727,600 represents Duncan's proceeds traceable to Fraud Scheme-2 and the figure does not
violate the Eighth Amendment, the Court will enter the proposed forfeiture order. (See ECF
No. 295.) The Court will not enter the government's proposed order for restitution because
it failed to meet its burden by a preponderance of the evidence


Dated: New York, New York
       July 29, 2020

                                          SO ORDERED:




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